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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

UNITED STATES OF AMERICA                                      PLAINTIFF

v.                      No. 4:17-cr-203-DPM-12

CORNELIUS J. THOMPSON                                      DEFENDANT

                                ORDER
     1. Cornelius Thompson moves for immediate release under
18 U.S.C. § 3582(c)(1)(A)(i) based on the ongoing COVID-19 pandemic
and the risk it presents to his health. He's served seven months of his
two-year sentence.     With good time, he expects to be released in
February of next year. Thompson submitted a compassionate release
request and did not receive a timely response. He therefore can seek
relief from this Court. 18 U.S.C. § 3582(c)(l)(A). The United States
opposes any sentence reduction.
     2. This Court has concluded that, since the passage of the First
Step Act, courts have the discretion to identify extraordinary and
compelling reasons other than those that meet the strict requirements
in the Guidelines policy statement. Doc. 203 in United States v. Cox,
No. 4:98-cr-73-DPM. But "those other extraordinary and compelling
reasons should be comparable or analogous to what the Commission
has already articulated as criteria for compassionate release." United
States v. Fox, 2019 WL 3046086, at *3 (D. Me. 11 July 2019)
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         Thompson's circumstances are, in fact, comparable to those the
Commission has articulated. He is not terminally ill; and his medical
condition, on its own, is not so dire as to qualify under section (A)(ii)(I)
of the Guidelines commentary.          But he's an obese black man in his
mid-forties. He suffers from congestive heart failure and high blood
pressure.         He had to be hospitalized last spring for blood pressure
problems.          These significant health problems will almost certainly
reduce his ability to fight COVID-19 if he contracts it. And that risk is
real:     Case counts are relatively low at the La Tuna facility where
Thompson is to serve his sentence.            But over the course of the
pandemic, more than 500 inmates have contracted and recovered from
the virus there.            https://www.bop.gov/ coronavirus        (accessed
13 January 2021).        Further, the transfer facility where Thompson is
currently housed has more than 100 active cases among inmates and
staff.    Ibid.    Positive cases, hospitalizations, and deaths are surging
nationwide; and we are still months away from a widespread vaccine
availability.       The risk Thompson faces if he remains in prison is
extraordinary and compelling.
         The Court may order Thompson release only if he is "not a danger
to the safety of any other person or to the community, as provided in
18 U.S.C. § 3142(g)[.]" USSG § lBl.13(2). He isn't. Thompson has
some criminal history, but the bulk of it occurred during his twenties.
During his three years of pretrial supervision, he complied with all
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conditions of release. PSR at ,r 3. He has a good job waiting for him
and solid support from both his family and his church. The Court is
convinced that Thompson will not endanger anyone else or the
community if released.
     3. Thompson's motion for compassionate release, Doc. 618, is
granted. Thompson expected to be released in late February of 2022.
Instead, he must serve those thirteen months on supervised release, in
addition to the three years previously imposed. He must abide by the
mandatory, standard, and special conditions in the Court's 30 June 2020
Judgment.    Doc. 592.     He must also abide by two new special
conditions: First, given the extent of the virus at FTC Oklahoma City,
Thompson must spend the first fourteen days in home quarantine to
ensure the safety of the community. During those two weeks, he may
leave home only for medical care or as directed by the probation officer.
Second, Thompson must spend the first thirteen months of supervised
release in home detention. He may leave home only for work, medical
appointments, probation activities, church, and school if he chooses to
pursue further education.     The Court grants the probation officer
discretion to authorize departures from home for anything else that will
further the goals of supervision. The Court also imposes electronic
location monitoring during the thirteen months of home detention.



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                             *      *       *
     Motion for compassionate release, Doc. 618, granted. Judgment,
Doc. 592, amended. Sentence reduced to time served with a total of
49 months of supervision under the mandatory, standard, and special
conditions set out in the Judgment, Doc. 592, and this Order. To limit
the potential spread of COVID-19, Thompson must arrange for a family
or household member to pick him up from FTC Oklahoma City. Once
he's made those arrangements, the Court directs the Bureau of Prisons
to release him. Thompson must contact the United States Probation
Office within seventy-two hours of his release to get instructions on
reporting and supervision. The Court directs the Clerk to provide a
copy of this Order to the United States Probation Office and the United
States Marshals Service. The Court further directs the Clerk to provide
a copy by both fax and mail to the Warden of FTC Oklahoma City.
     So Ordered.



                                         D .P. Marshall Jr.
                                         United States District Judge




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